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R&R (9/28/2011 )
                                                                                    Clerk, U.S. District Court, ILCD
                                   UNITED STATES DISTRICT COURT
                                                       for the
                                              Central District of Illinois
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UNITED STATES OF AMERICA                                                                     U.S. DISTRICT COURT
                                                                                         CENTRAL DISTRICT OF ILUNOIS
          vs.                                          Case No. 15-30045-02

JEREMY RENO


                   REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

          The United States of America and the Defendant having both filed a written consent, appeared before

me pursuant to Rule 11 , Fed. R. Crim. P. and CDIL Rule 72.l(A)(24). The Defendant entered a plea of guilty

to Count 1 of the Indictment. After cautioning and examining the Defendant under oath concerning each of

the subjects mentioned in Rule 11 , I determined that the guilty plea was knowing and voluntary, and that the

offense charged is supported by an independent factual basis containing each of the essential elements of such

offense. I therefore recommend that the plea of guilty be accepted, that a pre-sentence investigation and report

be prepared, and that the Defendant be adjudged guilty and have sentence imposed accordingly.



  6/10/2016                                            s\ Tom Schanzle-Haskins
Date                                                   TOM SCHANZLE-HASKINS
                                                       UNITED STATES MAGISTRATE JUDGE .



                                                      NOTICE

        Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date of its service, being the Court's electronic service, shall bar an aggrieved party from attacking such
Report and Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
